      Case: 1:19-cv-02129 Document #: 1 Filed: 03/27/19 Page 1 of 4 PageID #:1




                             UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION
__________________________________________
                                                 )
STEVEN GREEN, individually and                   )
on behalf of all others similarly situated,      )
                                                 )
                Plaintiffs,                      )     Case No. 1:19-cv-02129
                                                 )
       v.                                        )     Class Action
                                                 )
CHICAGO ATHLETIC CLUBS, LLC,                     )
                                                 )
                Defendant.                       )
__________________________________________)

                                   NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1331, 1441 and 1446, Defendant, Chicago Athletic Clubs, LLC

("CAC"), hereby gives notice of the removal of this civil action from the Circuit Court of Cook

County, Illinois, Chancery Division, to the United States District Court for the Northern District

of Illinois. In support of this Notice of Removal, Defendant states:

                                        BACKGROUND

       1.      Plaintiff, Steven Green (“Plaintiff”), on behalf of himself and all other similarly

situated individuals, filed a Class Action Complaint and Demand for Jury Trial against CAC in the

Circuit Court of Cook County, Illinois, Chancery Division, Case No. 2019 CH 01768, styled

Steven Green, et al. v. Chicago Athletic Clubs, LLC (the “State Action”). The State Action is

currently pending.

       2.      In the State Action, Plaintiff alleges two claims for alleged violations of the

Telephone Consumer Protection Act, a United States statute codified at 47 U.S.C. § 227

(“TCPA”).
       Case: 1:19-cv-02129 Document #: 1 Filed: 03/27/19 Page 2 of 4 PageID #:2




       3.       Plaintiff commenced the State Action against CAC by service of process upon

CAC’s registered agent. Plaintiff served CAC on February 25, 2019. CAC has not yet filed a

responsive pleading to Plaintiff's Complaint.

                                     BASIS FOR REMOVAL

       4.      A civil action brought in a state court of which the district courts of the United

States have original jurisdiction may be removed by the defendant to the district court of the United

States for the district and division embracing the place where the action is pending. 28 U.S.C. §

1441(a). 28 U.S.C. § 1331 gives the district courts original jurisdiction of “all civil actions arising

under the Constitution, laws, or treaties of the United States.” Id. An action “arises under” federal

law if the complaint alleges a federal claim. Here, Plaintiff claims CAC violated the TCPA, a

United States statute. Accordingly, the Complaint is removable under federal question jurisdiction.

See 28 U.S.C. § 1441(a).

       5.      Venue is proper in this District pursuant to 28 U.S.C. § 1441(a) because the action

was originally filed in the Circuit Court of Cook County, Illinois, located within the District and

Division of this Court.

       6.      In accordance with 28 U.S.C. § 1446(a), copies of all papers filed in the State

Action are attached as Exhibit 1.

       7.      Pursuant to 28 U.S.C. § 1446(b)(2)(B), CAC had thirty (30) days from February

25, 2019 – the date of the service of the Complaint and Summons – to file its Notice of Removal,

i.e., until March 27, 2019. Thus, CAC's Notice of Removal is timely.

       8.      Pursuant to 28 U.S.C. § 1446(d), CAC is providing written notice to Plaintiff of the

removal of this action through his counsel of record, Michael S. Agruss, Agruss Law Firm, LLC,

4809 N. Ravenswood Avenue, Suite 419 Chicago, IL 60640.
      Case: 1:19-cv-02129 Document #: 1 Filed: 03/27/19 Page 3 of 4 PageID #:3




       9.      Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is being filed

with the Clerk of the Circuit Court of Cook County, Illinois.

                                         CONCLUSION

       10.     For all the reasons set forth above, CAC removes to this Court the State Action

brought by Plaintiff in the Circuit Court of Cook County, Illinois.



Dated: March 27, 2019                        Respectfully submitted,

                                             By: /s/ J.H. Jennifer Lee
                                             J.H. Jennifer Lee, # 6290027
                                             ARENT FOX LLP
                                             1717 K Street, N.W.
                                             Washington, DC 20006-5344
                                             (202) 857-6000 (telephone)
                                             (202) 857-6395 (facsimile)
                                             jenny.lee@arentfox.com

                                             Attorney for Defendant
                                             Chicago Athletic Clubs, LLC
      Case: 1:19-cv-02129 Document #: 1 Filed: 03/27/19 Page 4 of 4 PageID #:4




                              CERTIFICATE OF SERVICE

       I hereby certify that on March 27, 2019, I electronically filed the foregoing Notice of

Removal using the CM/ECF system. In addition, I served the foregoing Notice of Removal via

U.S. Mail and email upon the following:


                            Michael S. Agruss
                            Agruss Law Firm, LLC
                            4809 N. Ravenswood Avenue, Suite 419
                            Chicago, IL 60640
                            (312) 224-4695 (telephone)
                            (312) 253-4451 (facsimile)
                            michael@agrusslawfirm.com

                            Attorney for Plaintiff Steven Green


                                                          /s/ J.H. Jennifer Lee
                                                          J.H. Jennifer Lee
